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                                                                                   Case 05-12559                Doc 1           Filed 03/30/05 Entered 03/30/05 17:45:07                                  Desc Main
                                                                     (Official Form 1) (12/03)                                    Document     Page 3 of 25
                                                                     FORM B1
                                                                                                          United States Bankruptcy Court
                                                                                                                                                                                                         Voluntary Petition
                                                                                                             District of Massachusetts
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                           Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Neves, Antonio Curado
                                                                      All Other Names used by the Debtor in the last 6 years                               All Other Names used by the Joint Debtor in the last 6 years
                                                                      (include married, maiden, and trade names):                                          (include married, maiden, and trade names):




                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.                     Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.
                                                                      No. (if more than one, state all): 3891                                              No. (if more than one, state all):
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                     Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      1005 The Heights At Cape Ann
                                                                      Gloucester, MA 01930


                                                                      County of Residence or of the                                                        County of Residence or of the
                                                                      Principal Place of Business: Essex                                                   Principal Place of Business:
                                                                      Mailing Address of Debtor (if different from street address):                        Mailing Address of Joint Debtor (if different from street address):
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                                                                      Location of Principal Assets of Business Debtor
                                                                      (if different from street address above):

                                                                                                    Information Regarding the Debtor (Check the Applicable Boxes)
                                                                      Venue (Check any applicable box)
                                                                      ü  Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                         preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                         There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                                                                                    Type of Debtor (Check all boxes that apply)                                   Chapter or Section of Bankruptcy Code Under Which
                                                                      ü    Individual(s)                     Railroad                                                       the Petition is Filed (Check one box)
                                                                           Corporation                       Stockbroker                                   ü    Chapter 7           Chapter 11             Chapter 13
                                                                           Partnership                       Commodity Broker                                   Chapter 9           Chapter 12
                                                                           Other                             Clearing Bank                                      Sec. 304 - Case ancillary to foreign proceeding

                                                                                          Nature of Debts (Check one box)
                                                                      ü Consumer/Non-Business
                                                                                                                                                                                   Filing Fee (Check one box)
                                                                                                          Business
                                                                                                                                                           ü    Full Filing Fee attached
                                                                              Chapter 11 Small Business (Check all boxes that apply)                            Filing Fee to be paid in installments (applicable to individuals only)
                                                                                                                                                                Must attach signed application for the court’s consideration
                                                                           Debtor is a small business as defined in 11 U.S.C. § 101                             certifying that the debtor is unable to pay fee except in installments.
                                                                           Debtor is and elects to be considered a small business under                         Rule 1006(b). See Official Form No. 3.
                                                                           11 U.S.C. § 1121(e) (Optional)
                                                                      Statistical/Administrative Information (Estimates only)                                                                    THIS SPACE IS FOR COURT USE ONLY

                                                                          Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                      ü   Debtor estimates that, after any exempt property is excluded and administrative expenses
                                                                          paid, there will be no funds available for distribution to unsecured creditors.
                                                                                                                1-15          16-49      50-99      100-199     200-999      1000-over
                                                                      Estimated Number of Creditors
                                                                                                                    ü
                                                                      Estimated Assets
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000      $100,000      $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                          ü
                                                                      Estimated Debts
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000      $100,000      $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                          ü
                                                                     VOLUNTARY PETITION
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                                                                                    Case 05-12559                 Doc 1         Filed 03/30/05 Entered 03/30/05 17:45:07                                      Desc Main
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                                                                                                                                 United States Bankruptcy Court
                                                                                                                                     District of Massachusetts

                                                                     IN RE:                                                                                                               Case No.
                                                                     Neves, Antonio Curado                                                                                                Chapter 7
                                                                                                                         Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from Schedules D, E, and F to determine the total
                                                                     amount of the debtor's liabilities.
                                                                                                                                                                                            AMOUNTS SCHEDULED

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)           SHEETS                 ASSETS                 LIABILITIES                 OTHER


                                                                      A - Real Property                                              Yes                      1                        0.00



                                                                      B - Personal Property                                          Yes                      2                 47,422.02



                                                                      C - Property Claimed as Exempt                                 Yes                      1
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                                                                      D - Creditors Holding Secured Claims                           Yes                      1                                          16,912.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                     Yes                      1                                                 0.00
                                                                          Claims

                                                                      F - Creditors Holding Unsecured
                                                                                                                                     Yes                      1                                          25,275.89
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                     Yes                      1
                                                                          Leases


                                                                      H - Codebtors                                                  Yes                      1


                                                                      I - Current Income of Individual
                                                                                                                                     Yes                      1                                                                     2,730.73
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                     Yes                      1                                                                     2,742.00
                                                                          Debtor(s)


                                                                                                 Total Number of Sheets in Schedules                         11



                                                                                                                                                   Total Assets                 47,422.02



                                                                                                                                                                       Total Liabilities                 42,187.89




                                                                     SUMMARY OF SCHEDULES
                                                                                     Case 05-12559                 Doc 1          Filed 03/30/05 Entered 03/30/05 17:45:07                                       Desc Main
                                                                                                                                    Document     Page 6 of 25
                                                                     IN RE Neves, Antonio Curado                                                                                             Case No.
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-tenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's own benefit. If the debtor is
                                                                     married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint, or "C" for Community in the column labeled
                                                                     "HWJC." If the debtor holds no interest in real property, write "None" under "Description and Location of Property".
                                                                        Do not include interests in executory contracts and unexpired leases on the schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.
                                                                        If an entity claims to have a lien or hold a security interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write "None" in the column labeled "Amount of Secured Claim".
                                                                        If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                                                                    CURRENT MARKET
                                                                                                                                                                                             H     VALUE OF DEBTOR'S
                                                                                                                                                                   NATURE OF DEBTOR'S        W   INTEREST IN PROPERTY       AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY       J    WITHOUT DEDUCTING              CLAIM
                                                                                                                                                                                             C   ANY SECURED CLAIM OR
                                                                                                                                                                                                      EXEMPTION

                                                                     None
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                                                                                                                                                                                     TOTAL                         0.00
                                                                                                                                                                                                 (Report also on Summary of Schedules)
                                                                     SCHEDULE A - REAL PROPERTY
                                                                                     Case 05-12559                    Doc 1       Filed 03/30/05 Entered 03/30/05 17:45:07                                        Desc Main
                                                                                                                                    Document     Page 7 of 25
                                                                     IN RE Neves, Antonio Curado                                                                                             Case No.
                                                                                                                                Debtor(s)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an "X" in the
                                                                     appropriate position in the column labeled "None". If additional space is needed in any category, attached a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint,
                                                                     or "C" for Community in the column labeled "HWJC." If the debtor is an individual or a joint petition is filed, state the amount of any exemptions only in Schedule C -
                                                                     Property Claimed as Exempt.
                                                                        Do not include interests in executory contracts and unexpired leases on the schedule. List them in Schedule G - Executory Contracts and Unexpired Leased.
                                                                        If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property".

                                                                                                                                                                                                                               CURRENT MARKET
                                                                                                                       N                                                                                               H      VALUE OF DEBTOR'S
                                                                                                                       O                                                                                               W    INTEREST IN PROPERTY
                                                                                    TYPE OF PROPERTY                                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                               J     WITHOUT DEDUCTING
                                                                                                                       E                                                                                               C    ANY SECURED CLAIM OR
                                                                                                                                                                                                                                 EXEMPTION

                                                                        1. Cash on hand.                                   cash on hand                                                                                                     10.00
                                                                        2. Checking, savings or other financial            cape ann savings bank- ck # 0175658-0141                                                                         72.00
                                                                           accounts, certificates of deposit, or           Sovereign Bank- ck # 65104945848                                                                             2,200.00
                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and                  Sovereign Bank- ck # 651049944358                                                                               600.00
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,        The Heights @ Cape Ann- landlord- security deposit.                                                             990.00
                                                                           telephone companies, landlords, and
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                                                                           others.
                                                                        4. Household goods and furnishings,                Couch and loveseat.                                                                                             200.00
                                                                           include audio, video, and computer              Household toolbox.                                                                                              150.00
                                                                           equipment.
                                                                                                                           microwave- 3 years old.                                                                                         100.00
                                                                                                                           Misc. furniture not already listed above and with no one item                                                1,000.00
                                                                                                                           worth more than $100.
                                                                                                                           Misc. household goods not already listed above and with no                                                       50.00
                                                                                                                           one item worth more than $100.
                                                                                                                           TV- 10 years old.                                                                                                50.00
                                                                                                                           TV- 5 years old.                                                                                                 50.00
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Worn clothing.                                                                                                  500.00
                                                                        7. Furs and jewelry.                               Jewelry- late wife's necklace, earrings, and ring.                                                              500.00
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in IRA, ERISA, Keogh, or               401-K.                                                                                                      18,280.02
                                                                          other pension or profit sharing plans.
                                                                          Itemize.
                                                                      12. Stock and interests in incorporated              Pension through company                                                                                     unknown
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      13. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                      14. Government and corporate bonds and           X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      15. Accounts receivable.                         X




                                                                     SCHEDULE B - PERSONAL PROPERTY
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                                                                                                                                 Document     Page 8 of 25
                                                                     IN RE Neves, Antonio Curado                                                                                  Case No.
                                                                                                                             Debtor(s)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)

                                                                                                                                                                                                              CURRENT MARKET
                                                                                                                      N                                                                                H     VALUE OF DEBTOR'S
                                                                                                                      O                                                                                W   INTEREST IN PROPERTY
                                                                                   TYPE OF PROPERTY                                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                J    WITHOUT DEDUCTING
                                                                                                                      E                                                                                C   ANY SECURED CLAIM OR
                                                                                                                                                                                                                EXEMPTION

                                                                      16. Alimony, maintenance, support, and          X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      17. Other liquidated debts owing debtor         X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      18. Equitable or future interest, life          X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule of Real Property.
                                                                      19. Contingent and noncontingent                X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
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                                                                      20. Other contingent and unliquidated           X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      21. Patents, copyrights, and other              X
                                                                          intellectual property. Give particulars.
                                                                      22. Licenses, franchises, and other             X
                                                                          general intangibles. Give particulars.
                                                                      23. Automobiles, trucks, trailers, and              Nissan Altima- 1994- 71,000 miles.                                                           3,870.00
                                                                          other vehicles and accessories.                 Plymouth Voyager Grand (Handicapped)- 1999- 52,000 miles. It                               18,800.00
                                                                                                                          was difficult to value to the car as Kelly does not offer a handi
                                                                                                                          cap conversion. Web sites selling used conversions showd
                                                                                                                          sticker on 200 Dodge Grand Caravan at $22,995 and $23,900.
                                                                                                                          Ther was also a 1998 selling for $23,900. 80% of $23,500 was
                                                                                                                          used as wholesale value
                                                                      24. Boats, motors, and accessories.             X
                                                                      25. Aircraft and accessories.                   X
                                                                      26. Office equipment, furnishings, and          X
                                                                          supplies.
                                                                      27. Machinery, fixtures, equipment, and         X
                                                                          supplies used in business.
                                                                      28. Inventory.                                  X
                                                                      29. Animals.                                    X
                                                                      30. Crops - growing or harvested. Give          X
                                                                          particulars.
                                                                      31. Farming equipment and implements.           X
                                                                      32. Farm supplies, chemicals, and feed.         X
                                                                      33. Other personal property of any kind         X
                                                                          not already listed. Itemize.




                                                                                                                                                                                                TOTAL                47,422.02
                                                                                                                                                                            (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                           Report total also on Summary of Schedules.)
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                       Case 05-12559               Doc 1         Filed 03/30/05 Entered 03/30/05 17:45:07                                     Desc Main
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                                                                     IN RE Neves, Antonio Curado                                                                                          Case No.
                                                                                                                               Debtor(s)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:

                                                                     (Check one box)

                                                                       ü11 U.S.C. § 522(b)(1):     Exemptions provided in 11 U.S.C. § 522(d). NOTE: These exemptions are available only in certain states.

                                                                           11 U.S.C. § 522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has been located for 180
                                                                                                  days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any other place, and the debtor's
                                                                                                  interest as a tenant by the entirety or joint tenant to the extent the interest is exempt from process under applicable nonbankruptcy law.

                                                                                                                                                                                                                          CURRENT MARKET
                                                                                                                                                                                                 VALUE OF CLAIMED        VALUE OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                                    EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                            EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     cash on hand                                                 11 USC § 522(d)(5)                                                           10.00                    10.00
                                                                     cape ann savings bank- ck # 0175658-0141 11 USC § 522(d)(5)                                                                               72.00                    72.00
                                                                     Sovereign Bank- ck # 65104945848                             11 USC § 522(d)(5)                                                       2,200.00                 2,200.00
                                                                     Sovereign Bank- ck # 651049944358                            11 USC § 522(d)(5)                                                         600.00                   600.00
                                                                     The Heights @ Cape Ann- landlord-                            11 USC § 522(d)(5)                                                         990.00                   990.00
                                                                     security deposit.
                                                                     Couch and loveseat.                                          11 USC § 522(d)(3)                                                         200.00                   200.00
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                                                                     Household toolbox.                                           11 USC § 522(d)(3)                                                         150.00                   150.00
                                                                     microwave- 3 years old.                                      11 USC § 522(d)(3)                                                         100.00                   100.00
                                                                     Misc. furniture not already listed above and 11 USC § 522(d)(3)                                                                       1,000.00                 1,000.00
                                                                     with no one item worth more than $100.
                                                                     Misc. household goods not already listed                     11 USC § 522(d)(3)                                                           50.00                    50.00
                                                                     above and with no one item worth more
                                                                     than $100.
                                                                     TV- 10 years old.                                            11 USC § 522(d)(3)                                                           50.00                    50.00
                                                                     TV- 5 years old.                                             11 USC § 522(d)(3)                                                           50.00                    50.00
                                                                     Worn clothing.                                               11 USC § 522(d)(3)                                                         500.00                   500.00
                                                                     Jewelry- late wife's necklace, earrings, and 11 USC § 522(d)(4)                                                                         500.00                   500.00
                                                                     ring.
                                                                     401-K.                                                       11 USC § 522(d)(10)(E)                                                 18,280.02                18,280.02
                                                                     Pension through company                                      11 USC § 522(d)(10)(E)                                                       100%               unknown
                                                                     Nissan Altima- 1994- 71,000 miles.                           11 USC § 522(d)(2)                                                       2,950.00                 3,870.00
                                                                                                                                  11 USC § 522(d)(5)                                                         220.00
                                                                                                                                  11 USC § 522(d)(5)                                                         700.00
                                                                     Plymouth Voyager Grand (Handicapped)-         11 USC § 522(d)(5)                                                                        275.00               18,800.00
                                                                     1999- 52,000 miles. It was difficult to value 11 USC § 522(d)(5)                                                                      1,613.00
                                                                     to the car as Kelly does not offer a handi
                                                                     cap conversion. Web sites selling used
                                                                     conversions showd sticker on 200 Dodge
                                                                     Grand Caravan at $22,995 and $23,900.
                                                                     Ther was also a 1998 selling for $23,900.
                                                                     80% of $23,500 was used as wholesale
                                                                     value




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
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                                                                     IN RE Neves, Antonio Curado                                                                                            Case No.
                                                                                                                                Debtor(s)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests. List creditors in alphabetical order to the extent practicable. If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                                                                                                 U
                                                                                                                                                                                                             C   N          AMOUNT OF CLAIM
                                                                                                                                    C                                                                        O   L    D    WITHOUT DEDUCTING
                                                                                                                                    O                                                                        N   I    I   VALUE OF COLLATERAL
                                                                                                                                    D   H                                                                    T   Q    S
                                                                                 CREDITOR'S NAME, MAILING ADDRESS                                           DATE CLAIM WAS INCURRED,
                                                                                                                                    E   W                                                                    I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                           NATURE OF LIEN, AND DESCRIPTION AND MARKET VALUE OF
                                                                                                                                    B   J                                                                    N   I    U
                                                                                        (See instructions above.)                                            PROPERTY SUBJECT TO LIEN
                                                                                                                                    T   C                                                                    G   D    T
                                                                                                                                    O                                                                        E   A    E   UNSECURED PORTION, IF
                                                                                                                                    R                                                                        N   T    D          ANY
                                                                                                                                                                                                             T   E
                                                                                                                                                                                                                 D

                                                                                                                                            Installment payments (121 months) for
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                                                                     Account No. 1100015983441....
                                                                     M&T Credit Services, Llc                                               handicapped van. Account opened 1/2004
                                                                     PO Box 4649                                                            and last reported 2/2005.                                                                16,912.00
                                                                     Buffalo, NY 14240

                                                                                                                                            Value $             18,800.00
                                                                     Account No.                                                            Assignee or other notification for:
                                                                     <M& T Credit Corporation                                               M&T Credit Services, Llc
                                                                     One Fountain Place
                                                                     Po Box 4005
                                                                     Buffalo, NY 14240
                                                                                                                                            Value $

                                                                     Account No.




                                                                                                                                            Value $

                                                                     Account No.




                                                                                                                                            Value $

                                                                     Account No.




                                                                                                                                            Value $
                                                                                                                                                                                                              Subtotal
                                                                              0 Continuation Sheets attached                                                                                      (Total of this page)               16,912.00

                                                                                                                                                         (Complete only on last sheet of Schedule D) TOTAL                           16,912.00
                                                                                                                                                                                                     (Report total also on Summary of Schedules)




                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
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                                                                     IN RE Neves, Antonio Curado                                                                                               Case No.
                                                                                                                                 Debtor(s)

                                                                                               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. The complete account number
                                                                     of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entiry on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of claims listed on each sheet in the box labeled “Subtotal” on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

                                                                     üCheck this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
                                                                     TYPES OF PRIORITY CLAIMS
                                                                     (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the
                                                                          earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2)

                                                                          Wages, salaries, and commissions
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                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
                                                                          qualifying independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the
                                                                          original petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).

                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition,
                                                                          or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to a maximum of $4,925* per farmer or fisherman, against the debtor, as provided in 11
                                                                          U.S.C. § 507(a)(5).

                                                                          Deposits by individuals
                                                                          Claims of individuals up to a maximum of $2,225* for deposits for the purchase, lease, or rental of property or services for personal,
                                                                          family, or household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6)

                                                                          Alimony, Maintenance, or Support
                                                                          Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C.
                                                                          § 507(a)(7).

                                                                          Taxes and Other Certain Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board
                                                                          of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository
                                                                          institution. 11 U.S.C. § 507(a)(9).

                                                                          * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




                                                                               0 Continuation Sheets attached




                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                     Case 05-12559                   Doc 1          Filed 03/30/05 Entered 03/30/05 17:45:07                                         Desc Main
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                                                                     IN RE Neves, Antonio Curado                                                                                                Case No.
                                                                                                                                  Debtor(s)

                                                                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code and last four digits of any account number of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation
                                                                     sheet provided.
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                                                                                      U
                                                                                                                                                                                                                 C    N
                                                                                                                                      C                                                                          O    L    D
                                                                                                                                      O                                                                          N    I    I
                                                                                                                                      D    H                                                                     T    Q    S
                                                                                 CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                                      E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.             I    U    P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                                              AMOUNT OF CLAIM
                                                                                                                                      B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.                 N    I    U
                                                                                         (See instructions above.)
                                                                                                                                      T    C                                                                     G    D    T
                                                                                                                                      O                                                                          E    A    E
                                                                                                                                      R                                                                          N    T    D
                                                                                                                                                                                                                 T    E
                                                                                                                                                                                                                      D

                                                                                                                                               Revolving credit card charges incurred over
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                                                                     Account No. 5213970010....
                                                                     Household                                                                 the past several years. Account opened
                                                                     700 N Wood Dale Rd.                                                       9/2001and last reported on 1/2005.
                                                                     Wood Dale, IL 60191

                                                                                                                                                                                                                                                54.00
                                                                     Account No. 540707000814....                                              Revolving credit card charges incurred over
                                                                     HSBC NV                                                                   the past several years. Account opened
                                                                     Machinists Privilege Platinum                                             4/1998 and last reported on 2/2005.
                                                                     1441 Schilling Place
                                                                     Salinas, CA 93901
                                                                                                                                                                                                                                          11,218.00
                                                                     Account No. 549099386228....                                              Revolving credit card charges incurred over
                                                                     MBNA America                                                              the past several years. Account opened
                                                                     PO Box 17054                                                              3/1996 and last reported 3/2005.
                                                                     Wilmington, DE 19884

                                                                                                                                                                                                                                            1,585.00
                                                                     Account No. 7497426576...                                                 Revolving credit card charges incurred over
                                                                     MBNA America                                                              the past several years. Account opened
                                                                     PO Box 17054                                                              9/2004 and last reported 3/2005.
                                                                     Wilmington, DE 19884

                                                                                                                                                                                                                                            9,859.00
                                                                     Account No. 5121-0718-6174-2595                                           Revolving credit card charges incurred over
                                                                     Sears Gold MC                                                             the past several years. This account did not
                                                                     PO Box 6922                                                               show up on the debtors credit report, but
                                                                     The Lakes, NV 88901                                                       was reported to us by the debtor.

                                                                                                                                                                                                                                            2,559.89
                                                                                                                                                                                                                  Subtotal
                                                                               0 Continuation Sheets attached                                                                                         (Total of this page)                25,275.89

                                                                                                                                                            (Complete only on last sheet of Schedule F) TOTAL                             25,275.89
                                                                                                                                                                                                         (Report total also on Summary of Schedules)




                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     Case 05-12559                  Doc 1         Filed 03/30/05 Entered 03/30/05 17:45:07                                        Desc Main
                                                                                                                                   Document     Page 13 of 25
                                                                     IN RE Neves, Antonio Curado                                                                                              Case No.
                                                                                                                                 Debtor(s)

                                                                                                 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                     State nature of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease.
                                                                     Provide the names and complete addresses of all other parties to each lease or contract described.
                                                                     NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate schedule of creditors.

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                        STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                          STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                    Case 05-12559                  Doc 1         Filed 03/30/05 Entered 03/30/05 17:45:07                                       Desc Main
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                                                                     IN RE Neves, Antonio Curado                                                                                           Case No.
                                                                                                                               Debtor(s)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
                                                                     creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should report the name and address of the nondebtor
                                                                     spouse on this schedule. Include all names used by the nondebtor spouse during the six years immediately preceding the commencement of this case.

                                                                     üCheck this box if debtor has no codebtors.

                                                                                               NAME AND ADDRESS OF CODEBTOR                                                           NAME AND ADDRESS OF CREDITOR
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                                                                     SCHEDULE H - CODEBTORS
                                                                                    Case 05-12559                  Doc 1          Filed 03/30/05 Entered 03/30/05 17:45:07                                      Desc Main
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                                                                     IN RE Neves, Antonio Curado                                                                                            Case No.
                                                                                                                                Debtor(s)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint petition is filed,
                                                                     unless the spouses are separated and a joint petition is not filed.

                                                                      Debtor's Marital Status                                                             DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Single                                       RELATIONSHIP                                                                                           AGE




                                                                      EMPLOYMENT:                                             DEBTOR                                                                     SPOUSE
                                                                      Occupation                Welder
                                                                      Name of Employer          Battenfeld Gloucester Engineering
                                                                      How long employed         10 Years
                                                                      Address of Employer       Blackburn Industrial Park
                                                                                                Gloucester, MA 01930

                                                                     Income: (Estimate of average monthly income)                                                                                           DEBTOR                     SPOUSE
                                                                     Current Monthly gross wages, salary, and commissions (pro rata if not paid monthly)                                       $             3,655.60 $
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                                                                     Estimated monthly overtime                                                                                                $                          $
                                                                     SUBTOTAL                                                                                                                  $             3,655.60 $
                                                                      LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                    $               691.77     $
                                                                       b. Insurance                                                                                                            $               121.90     $
                                                                       c. Union dues                                                                                                           $                44.42     $
                                                                       d. Other (specify) Misc-C Code 19 (Insurance Disbaility)                                                                $                66.78     $
                                                                                                                                                                                               $                          $
                                                                     SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                            $               924.87 $
                                                                     TOTAL NET MONTHLY TAKE HOME PAY                                                                                           $             2,730.73 $

                                                                     Regular income from operation of business or profession or farm (attach detailed statement)                               $                          $
                                                                     Income from real property                                                                                                 $                          $
                                                                     Interest and dividends                                                                                                    $                          $
                                                                     Alimony, maintenance or support payments payable to the debtor for the debtor’s use
                                                                     or that of dependents listed above                                                                                        $                          $
                                                                     Social Security or other government assistance
                                                                     (Specify)                                                                                                                 $                          $
                                                                                                                                                                                               $                          $
                                                                     Pension or retirement income                                                                                              $                          $
                                                                     Other monthly income
                                                                     (Specify)                                                                                                                 $                          $
                                                                                                                                                                                               $                          $
                                                                                                                                                                                               $                          $

                                                                     TOTAL MONTHLY INCOME                                                                                                      $             2,730.73 $

                                                                     TOTAL COMBINED MONTHLY INCOME $                                                2,730.73 (Report also on Summary of Schedules)

                                                                     Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this document:
                                                                     The debtors hours are not set at 40 one pay check had 39.5 hours and one pay check had 40 hours. Overtime is intermittently
                                                                     available. There was no overtime listed on his paycheck ending 3/5 or 3/12. Medical and dental are high because
                                                                     prescriptions alone are $90/month Glasses are about $15. Dental work will be needed as well. Debtor has been using all
                                                                     funds to pay the medical expenses of his wife before she passed. A dental plate is needed.




                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                    Case 05-12559                 Doc 1        Filed 03/30/05 Entered 03/30/05 17:45:07                                     Desc Main
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                                                                     IN RE Neves, Antonio Curado                                                                                        Case No.
                                                                                                                              Debtor(s)

                                                                                              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-weekly, quarterly, semi-annually,
                                                                     or annually to show monthly rate.

                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     Rent or home mortgage payment (include lot rented for mobile home)                                                                             $             1,005.00
                                                                     Are real estate taxes included? Yes      No ü
                                                                     Is property insurance included? Yes      No ü
                                                                     Utilities: Electricity and heating fuel                                                                                                        $                40.00
                                                                                Water and sewer                                                                                                                     $
                                                                                Telephone                                                                                                                           $                60.00
                                                                                Other Cable                                                                                                                         $                50.00
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                     Home maintenance (repairs and upkeep)                                                                                                          $
                                                                     Food                                                                                                                                           $               400.00
                                                                     Clothing                                                                                                                                       $                50.00
                                                                     Laundry and dry cleaning                                                                                                                       $                65.00
                                                                     Medical and dental expenses                                                                                                                    $               150.00
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                                                                     Transportation (not including car payments)                                                                                                    $               150.00
                                                                     Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                               $               125.00
                                                                     Charitable contributions                                                                                                                       $                50.00
                                                                     Insurance (not deducted from wages or included in home mortgage payments)
                                                                       Homeowner’s or renter’s                                                                                                                      $
                                                                       Life                                                                                                                                         $
                                                                       Health                                                                                                                                       $
                                                                       Auto                                                                                                                                         $                70.00
                                                                       Other Handicap Van                                                                                                                           $                80.00
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                     Taxes (not deducted from wages or included in home mortgage payments)
                                                                     (Specify) Excise On Two Cars                                                                                                                   $                 9.00
                                                                                 Income Tax (Debtor Does Not Have Enough Taken)                                                                                     $               125.00
                                                                                 2004 Was $2000 2003 Was About $1700 2002 Was About $1500                                                                           $
                                                                     Installment payments (in chapter 12 and 13 cases, do not list payments to be included in the plan)
                                                                       Auto                                                                                                                                         $               228.00
                                                                       Other                                                                                                                                        $
                                                                                                                                                                                                                    $
                                                                     Alimony, maintenance, and support paid to others                                                                                               $
                                                                     Payments for support of additional dependents not living at your home                                                                          $
                                                                     Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     Other Haircuts And Person Items                                                                                                                $                35.00
                                                                              Emergency Fund                                                                                                                        $                50.00
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $

                                                                     TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                                   $             2,742.00

                                                                     (FOR CHAPTER 12 AND 13 DEBTORS ONLY)
                                                                     Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some
                                                                     other regular interval.
                                                                       A. Total projected monthly income                                                                             $
                                                                       B. Total projected monthly expenses                                                                           $
                                                                       C. Excess income (A minus B)                                                                                  $
                                                                       D. Total amount to be paid into plan each                                                                     $
                                                                                                                                             (interval)
                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
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                                                                                    Case 05-12559                Doc 1        Filed 03/30/05 Entered 03/30/05 17:45:07                                  Desc Main
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                                                                                                                               United States Bankruptcy Court
                                                                                                                                   District of Massachusetts

                                                                     IN RE:                                                                                                          Case No.
                                                                     Neves, Antonio Curado                                                                                           Chapter 7
                                                                                                                        Debtor(s)

                                                                                                                        STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs.

                                                                        Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19-25.
                                                                     If the answer to an applicable question is “None,” mark the box labeled “None.” If additional space is needed for the answer to any question, use
                                                                     and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                              DEFINITIONS

                                                                       “In business.” A debtor is “in business” for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is “in business”
                                                                     for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                     partner, of a partnership; a sole proprietor or self-employed.
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                                                                       “Insider.” The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business from
                                                                             the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two years immediately
                                                                             preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                                                                             report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE (if more than one)
                                                                                 10,325.49 2005 year to date. Gloucester Engineering.
                                                                                 51,461.97 2004 income. Gloucester Engineering.
                                                                                 48,106.92 2003 income. Gloucester Engineering.

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor’s business during
                                                                      ü      the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                      None   a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor, made within
                                                                             90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include payments
                                                                             by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                                                                                                                    AMOUNT                AMOUNT
                                                                     NAME AND ADDRESS OF CREDITOR                                       DATES OF PAYMENTS                                              PAID           STILL OWING
                                                                     M&T Credit Services, Llc                                           1/2005 + 2/2005 + 3/2005.                                     684.00              18,034.00
                                                                     Box 4649
                                                                     Buffalo, NY 14240
                                                                      None   b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
                                                                      ü      were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                    Case 05-12559               Doc 1        Filed 03/30/05 Entered 03/30/05 17:45:07                               Desc Main
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                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                      ü      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      ü      the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                      DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Law Offices Of Victoria R. Whelan                                3/23/05                                                                720.00
                                                                     130 Centre Street
                                                                     Danvers, MA 01923

                                                                     10. Other transfers
                                                                      None   List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, association,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
                                                                                                                                      TYPE AND NUMBER OF ACCOUNT                    AMOUNT AND DATE OF SALE
                                                                     NAME AND ADDRESS OF INSTITUTION                                  AND AMOUNT OF FINAL BALANCE                   OR CLOSING



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                                                                     Cape Ann Savings Bank                                            checking #0175658-0141. The
                                                                     109 Main St                                                      debtor's wife's name was removed
                                                                     Gloucester, MA 01930                                             from the account

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                                                                                                                            DATE OF
                                                                                                                                      NAMES AND ADDRESS                                                     TRANSFER OR
                                                                     NAME AND ADDRESS OF BANK                                         OF THOSE WITH ACCESS               DESCRIPTION OF                     SURRENDER, IF
                                                                     OR OTHER DEPOSITORY                                              TO BOX OR DEPOSITORY               CONTENTS                           ANY
                                                                     Sovereign Bank                                                                                      passports, jewelry. no
                                                                     Gloucester, MA 01930                                                                                money.

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
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                                                                     15. Prior address of debtor
                                                                      None   If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor occupied
                                                                      ü      during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the commencement of
                                                                             the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




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            <M& T Credit Corporation
            One Fountain Place
            Po Box 4005
            Buffalo, NY 14240


            Household
            700 N Wood Dale Rd.
            Wood Dale, IL 60191


            HSBC NV
            Machinists Privilege Platinum
            1441 Schilling Place
            Salinas, CA 93901


            M&T Credit Services, Llc
            PO Box 4649
            Buffalo, NY 14240


            MBNA America
            PO Box 17054
            Wilmington, DE       19884


            Sears Gold MC
            PO Box 6922
            The Lakes, NV      88901
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